Case 1:20-cv-01008-PLM-RSK ECF No. 100, PageID.4009 Filed 10/12/21 Page 1 of 2




                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MICHIGAN

  WINERIES OF THE OLD MISSION
  PENINSULA (WOMP) ASSOC., a Michigan
  Nonprofit Corporation, et al.,
                                                          Case No: 1:20-cv-01008
                     Plaintiffs,
  v
                                                          Honorable Paul L. Maloney
  PENINSULA TOWNSHIP, Michigan Municipal                  Magistrate Judge Ray S. Kent
  Corporation,
               Defendant.                                 EXPEDITED CONSIDERATION
                                                          REQUESTED



       PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT OR FOR SANCTIONS
                       AGAINST PENINSULA TOWNSHIP

          Plaintiffs move to enforce a settlement agreement reached with Defendant Peninsula

 Township on September 13, 2021. In the alternative, Plaintiffs request that the Court order

 Peninsula Township to show cause why an order of sanctions should not issue under Federal Rule

 of Civil Procedure 16(f) and the Court’s inherent authority because Defendant negotiated in bad

 faith and without settlement authority when it represented that it was cloaked with authority to

 negotiate a settlement. Plaintiffs rely on the attached brief and accompanying documents in

 support of their motion. Plaintiffs requested concurrence in this motion under Local Civil Rule

 7.1(d), by email on October 11, 2021 but concurrence was not obtained. Plaintiffs request

 expedited consideration under Local Civil Rule 7.1(e) because this motion could resolve all

 pending claims in this matter and allow the parties to avoid unnecessary discovery, depositions,

 and motion practice.

          WHEREFORE, Plaintiffs request that the Court enforce the settlement agreement reached

 between the parties with their attorneys and representatives and confirmed by the court appointed



 38231917.5/159392.00002
Case 1:20-cv-01008-PLM-RSK ECF No. 100, PageID.4010 Filed 10/12/21 Page 2 of 2




 mediator on September 13, 2021. In the alternative, Plaintiffs request that the Court order

 Peninsula Township to show cause why an order of sanctions should not issue for their negotiating

 in bad faith and without settlement authority when its representatives represented that they had full

 settlement authority.



                                        Respectfully submitted,

                                        By:      /s/ Joseph M. Infante
                                              Joseph M. Infante (P68719)
                                              Stephen M. Ragatzki (P81952)
                                              Christopher J. Gartman (P83286)
                                              99 Monroe Avenue NW, Suite 1200
                                              Grand Rapids, MI 49503
                                              (616) 776-6333
 Dated: October 12, 2021




 38231917.5/159392.00002
